            IN THE UNITED STATES DISTRICT COURT FOR
              THE MIDDLE DISTRICT OF PENNSYLVANIA

HON. GUY RESCHENTHALER,
a member of the U.S. House of
Representatives, HON. DAN MEUSER,
a member of the U.S. House of
Representatives, HON. GLENN “G.T.”
THOMPSON, a member of the U.S.
House of Representatives, HON. LLOYD
SMUCKER, a member of the U.S. House
of Representatives, HON. MIKE KELLY,          Case No. 1:24-cv-1671-CCC
a member of the U.S. House of                Judge Christopher C. Conner
Representatives, HON. SCOTT PERRY,
a member of the U.S. House of
                                           BRIEF OF THE DEMOCRATIC
Representatives, PA FAIR ELECTIONS,
                                           NATIONAL COMMITTEE AND
                  Plaintiffs,                 THE PENNSYLVANIA
                                             DEMOCRATIC PARTY IN
      v.                                       SUPPORT OF THEIR
                                              MOTION TO DISMISS
AL SCHMIDT, in his official capacity as      THE COMPLAINT AND IN
Secretary of the Commonwealth              OPPOSITION TO PLAINTIFFS’
JONATHAN MARKS, in his official             MOTION FOR TEMPORARY
capacity as the Deputy Secretary for        RESTRAINING ORDER OR
Elections and Commissions for the          PRELIMINARY INJUNCTION
Commonwealth of Pennsylvania,

                  Defendants,

      and

DEMOCRATIC NATIONAL
COMMITTEE, PENNSYLVANIA
DEMOCRATIC PARTY,

                  Intervenor-Defendants.
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                                 INTRODUCTION

      Plaintiffs seek to disenfranchise tens of thousands of Pennsylvanians serving

in the military or residing overseas (or both)—citizens whose voting rights have

special protection from Congress under the Uniformed and Overseas Citizens

Absentee Voting Act (“UOCAVA”), 52 U.S.C. §20301 et seq. Plaintiffs seek to

deny these people their fundamental right to vote, moreover, less than five weeks

before the November elections—and more than a month after UOCAVA ballots

were first sent to voters, see 25 P.S. §3145.5(a). The last-minute nature of plaintiffs’

challenge cannot be attributed to the laws and guidance they challenge, since those

have been in place for nearly twelve years. Plaintiffs simply chose to sit on their

hands for over a decade and then attack the voting rights of those serving in our

military only after the 2024 general election was underway.

      Specifically, plaintiffs—six Republican members of Pennsylvania’s U.S.

House delegation and a self-described “election integrity” organization (Am. Compl.

¶35)—ask this Court to enjoin county election officials from canvassing any ballots

returned by eligible voters until some verification of those voters occurs or until they

provide identification that federal law expressly does not require. Plaintiffs’ claims

misstate the law (state and federal), and appear to misunderstand entirely the voter-

registration process in the Commonwealth (for UOCAVA and all other qualified

voters). But the Court cannot even reach the merits, because there are multiple



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threshold defects with the complaint that foreclose plaintiffs’ last-minute request to

disenfranchise military and other Pennsylvania voters—and that make clear that this

lawsuit is really an effort to sow public doubts about the election.

      For starters, plaintiffs have not plausibly alleged any element of Article III

standing. For instance, the individual plaintiffs have not alleged any way in which

the Election Code’s treatment of UOCAVA voters harms their electoral prospects,

and the complaint does not identify a single injured member of the organizational

plaintiff, which the Third Circuit requires to establish associational standing.

Plaintiffs’ alleged harm (purportedly inaccurate vote tallies), meanwhile, is neither

traceable to a named defendant nor redressable in this action, because the Election

Code makes county boards of elections responsible for registering voters and

canvassing ballots. Indeed, plaintiffs cannot obtain an order enjoining the county

boards of elections to set aside UOCAVA ballots because an injunction cannot bind

these non-parties. See Fed. R. Civ. P. 65(d)(2).

      Plaintiffs’ also have no cause of action under the Help America Vote Act

(“HAVA”). Under well-established Third Circuit precedent, private parties cannot

enforce the provisions of HAVA on which they rely.

      And their challenge could and hence should have been brought years ago,

rather than mere weeks before election day. Pennsylvania implements UOCAVA

through its Uniform Military and Overseas Voters Act (“UMOVA”), 25 Pa.C.S.



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§§3501-3519—which the General Assembly enacted in 2012, see Pa. Act 189 of

2012. That same year, the Pennsylvania Department of State (“DOS”) issued

guidance explaining that—as federal law dictates—first-time voters availing

themselves of UOCAVA need not enclose a copy of a driver’s license, utility bill,

or other identification document with their absentee ballot. This 2012 guidance is

substantively identical to the guidance from the Secretary of the Commonwealth that

plaintiffs now challenge. Plaintiffs offer no explanation for waiting a dozen years

to bring this action and then demanding that this Court rush out relief. In short, their

claim is barred by both laches and the Purcell principle.

      If none of these threshold defects existed, then dismissal on the merits would

be warranted. HAVA requires state election officials to collect voter-registration

applicants’ driver’s-license or social-security numbers (if they have either), and the

Defense Department’s Federal Post Card Application has blanks for both. But

(contrary to plaintiffs’ assertion) HAVA leaves it to states to determine whether to

condition registration on a successful match of either number to a state or federal

database.    Pennsylvania law does not permit counties to reject registration

applications (for any voter, UOCAVA-protected or not) solely because of a non-

match. The Secretary has accordingly advised county boards not to do so just

because the database match process failed. That guidance is consistent with state




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and federal law. In any event, plaintiffs have presented no evidence that UOCAVA

voters are treated any differently from other Pennsylvanians in this regard.

         Finally, plaintiffs’ request for a preliminary injunction should be denied. For

all the reasons just given, plaintiffs will not likely succeed on the merits. Their

speculation that invalid UOCAVA ballots could change the outcome of an

election—supported by no evidence that any such invalid ballots have even been

submitted in this election or any other—fails to establish likely and imminent

irreparable harm. The balance of the equities and public interest likewise favor

denying extraordinary relief. Plaintiffs’ inexcusably belated request for relief in the

middle of an election would create chaos for election administration, confuse voters,

and potentially disenfranchise tens of thousands of eligible Pennsylvanians who

wear their Nation’s uniform or are otherwise living overseas.

         The complaint should be dismissed and a preliminary injunction denied.

                               QUESTIONS INVOLVED1

         1.     Whether plaintiffs have Article III standing and a cause of action.

         2.     Whether this case is barred by laches or the principle articulated in

    Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam), that federal courts ordinarily

    should not alter state election law shortly before an election.



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 Because plaintiffs’ motion did not state the questions involved, these statements
should be “deemed adopted” under Local Rule 7.8(a).


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      3.     Whether plaintiffs can obtain an injunction requiring the 67 county

boards of elections to segregate UOCAVA ballots when none is a party to this case.

      4.     Whether HAVA bars the challenged DOS guidance on UOCAVA.

                                 BACKGROUND

      1.     UOCAVA. UOCAVA requires states to allow U.S. citizens serving in

the military or living overseas to vote absentee in federal elections. 52 U.S.C.

§20302(a)(1). Under UOCAVA, the federal government must “prescribe an official

post card form, containing both an absentee voter registration application and an

absentee ballot application” for state use.       Id. §20301(b)(2).     The Defense

Department has thus developed the Federal Post Card Application (“FPCA”), which

contains blanks for an applicant’s driver’s-license or social-security number. See

Am. Compl. Ex. G.

      2.     HAVA.      HAVA directs each state to establish a “computerized

statewide voter registration list … that contains the name and registration

information of every legally registered voter in the State and assigns a unique

identifier to each.” 52 U.S.C. §21083(a)(1). And §21083(a)(5)(A) of HAVA—

which governs voter registration—requires that “an application for voter registration

… not be accepted or processed by a State unless [it] includes (I) … the applicant’s

driver’s license number; or (II) … the last 4 digits of the applicant’s social security

number.” Id. §21083(a)(5)(A)(i). If an applicant has neither number, “the state shall



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assign the applicant a number which will serve to identify the applicant for voter

registration purposes.” Id. §21083(a)(5)(A)(ii). HAVA also requires state election

officials to enter agreements to enable them to “match information” in the

computerized statewide voter registration list with data in the state motor-vehicle

and Social Security Administration databases. Id. §21083(a)(5)(B)(i).

      HAVA §21083(b) imposes certain requirements that people who register by

mail must meet when they vote for the first time—not when they register. More

specifically, section 21083(b) generally requires individuals who had not previously

voted in a state and who registered by mail to present, when they vote in person,

either “a current and valid photo identification” or “a copy of a current utility bill,

bank statement, government check, paycheck, or other government document that

shows [her] name and address.” 52 U.S.C. §21083(b)(2)(A)(i). If such individuals

instead cast their first ballot by mail, they must submit with their ballot a copy of

one of those items. Id. §21083(b)(2)(A)(ii). But HAVA expressly excuses from this

requirement people who are “entitled to vote by absentee ballot under” UOCAVA.

Id. §21083(b)(3)(C)(i).

      3.     Pennsylvania Law. Pennsylvania’s Election Code provides four voter-

registration requirements, related to age, citizenship, residency, and felony

incarceration status. 25 Pa.C.S. §1301(a). County officials may reject a voter-

registration application only if: (1) “[t]he application was not properly completed,”



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or “[t]he applicant is” (2) “not a qualified elector,” (3) “not entitled to a transfer of

registration or a change of address,” or (4) “not legally qualified for a change of

name.” Id. §1328(b)(2)(i)-(iv). Separately, the Election Code requires absentee and

mail voters to provide “proof of identification” when they apply for a mail or

absentee ballot, 25 P.S. §§3146.2(e.2), 3146.2b(d), 3146.5(b)(1), 3146.8(h)(2),

3150.12b(c), 3150.15, which can include a valid government photo ID or a match of

the voter’s driver’s license number or last four digits of the voter’s SSN, id.

§2602(z.5)(3).    But Pennsylvania law does not impose this requirement on

UOCAVA voters. Id. §3146.8(i).

                               LEGAL STANDARDS

       The DNC and PDP seek dismissal under Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6). Under each rule, the Court “accept[s] as true the facts alleged

in the complaint, along with reasonable inferences that can be drawn from those

facts.” Bah v. United States, 91 F.4th 116, 119 (3d Cir. 2024). Under Rule 12(b)(1),

“the plaintiff bears the burden of establishing … standing.” Ballentine v. United

States, 486 F.3d 806, 810 (3d Cir. 2007). Rule 12(b)(6) requires a complaint to be

dismissed unless it states a “claim [that] has facial plausibility.” Bah, 91 F.4th at

119.




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                                    ARGUMENT

I.    PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED

      A.     Plaintiffs Lack Article III Standing

      To avoid dismissal for lack of standing, “plaintiff[s] must clearly allege facts

demonstrating each element,” i.e., that plaintiffs “(1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578

U.S. 330, 338 (2016). Plaintiffs fail to adequately allege any of these elements.

      1.     Injury In Fact. “To establish injury in fact, a plaintiff must show that

he or she suffered an invasion of a legally protected interest that is concrete and

particularized and actual or imminent, not conjectural or hypothetical.” Spokeo, 578

U.S. at 339 (quotation marks omitted). “For an injury to be particularized, it must

affect the plaintiff in a personal and individual way.” Id. (quotation marks omitted).

Here, neither the individual plaintiffs nor PA Fair Elections (“PFE”) plausibly

alleges adequate injury.

      a.     The individual plaintiffs invoke (Mot.17) the doctrine of “[c]ompetitive

standing.” But complaint does not plausibly allege standing on that basis. The

individual plaintiffs assert that, as “candidates … in the upcoming … election,” they

“gain or lose by the[ir] forced participation … in the illegal election structure

regarding absentee voters and the tally of those votes,” which they allege “may not

accurately reflect the legally valid votes cast. Am. Compl. ¶¶179-183; Mot.17. But


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plaintiffs nowhere allege or argue that this “allegedly unlawful election regulation

makes the competitive landscape worse for a candidate or that candidate’s party than

it would … if the regulation were declared unlawful.” Mecinas v. Hobbs, 30 F.4th

890, 898 (9th Cir. 2022). Plaintiffs, that is, allege no facts from which to infer that

the purported risk of an “inaccurate vote tally” in their races (Am. Compl. ¶184)

“unequally favors … other” candidates, Pavek v. Donald J. Trump for President,

Inc., 967 F.3d 905, 907 (8th Cir. 2020) (per curiam); “allegedly injur[es] [their]

chances of being elected,” Nelson v. Warner, 12 F.4th 376, 384 (4th Cir. 2021); or

unlawfully “discriminates against [them] by conferring an advantage on” their

opponents, Green Party of Tennessee v. Hargett, 767 F.3d 533, 540 (6th Cir. 2014).

Nor do the complaint’s allegations support an inference that plaintiffs “face

intensified competition” or “additional rivals,” or that the Directive requires them to

“seek[] reelection through contests” in which “opponents will use … []proscribed

campaign practices” “against them” in a manner that “fundamentally alter[s] the

environment in which rival parties defend their concrete interests,” Shays v. FEC,

414 F.3d 76, 85-86 (D.C. Cir. 2005). Rather, “[t]he only injury plaintiffs allege is

that the law … has not been followed,” which “is precisely the kind of

undifferentiated, generalized grievance” that the Supreme Court has “refused to

countenance.” Lance v. Coffman, 549 U.S. 437, 442 (2007).




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      It is also irrelevant that individual plaintiffs are current House members who

allegedly “would vote no … on a federal bill to exempt Pennsylvania from

complying with … UOCAVA and HAVA.” Am. Compl. ¶¶34, 45-50. Members of

Congress cannot establish Article III standing by asserting “a type of institutional

injury (the diminution of legislative power), which necessarily damages all Members

of Congress and both Houses of Congress equally.” Raines v. Byrd, 521 U.S. 811,

821 (1997). In particular, assertions by “Members of Congress” that they would

“vote[] ‘nay,’” on a piece of legislation does not establish an “alleged … injury to

themselves as individuals,” because “the institutional injury they allege is wholly

abstract and widely dispersed.” Id. at 814, 829.

      b.    Plaintiffs do not plausibly allege that PFE has suffered injury in fact,

either directly or via its members. PFE claims (Am. Compl. ¶35) to be “an

association of Pennsylvania voters,” including “UOCAVA voters.” But “to establish

associational standing …, an organization must make specific allegations … that at

least one identified member has suffered or would suffer harm.” N.J. Physicians,

Inc. v. President of the United States, 653 F.3d 234, 241 (3d. Cir. 2011) (quotation

marks omitted). The complaint’s failure to identify any such member precludes




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associational standing. And the complaint contains no allegations from which to

infer that PFE is directly injured as required to establish organizational standing.2

      Even if a specific member were identified, the complaint still would not

plausibly allege injury to PFE. The only relevant allegation (¶185) is that PFE’s

UOCAVA voter-members “are injured by Defendants’ directives and guidance

invalidating their and others’ UOCAVA votes by failing to verify voter registration

information prior to counting UOCAVA ballots.” This appears to be a claim of

“vote dilution” from the counting of supposedly improper UOCAVA ballots, that

would be legally inadequate. “Voter[s] … lack standing to redress their alleged vote

dilution” based on “state actors counting ballots in violation of state … law”

“because that alleged injury is not concrete…, nor is it particularized.” Bognet v.

Sec’y Commonwealth of Pa., 980 F.3d 336, 352-354 (3d Cir. 2020), vacated as moot,

141 S.Ct. 2508 (2021); see also Bolus v. Boockvar, 2020 WL 6880960, at *3 (M.D.

Pa. Oct. 27, 2020). Moreover, these alleged vote-dilution injuries are “speculative,

and thus … not ‘concrete.’” Donald J. Trump for President, Inc. v. Boockvar, 493

F.Supp.3d 331, 342 (W.D. Pa. 2020).




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  PFE previously filed a complaint with DOS alleging HAVA violations. D-E 6-4,
at 1. DOS dismissed the complaint as meritless. Id. at 11. The appeal from that
dismissal is set for oral argument in the en banc Commonwealth Court on November
6. Pa. Fair Elections v. Pa. Dep’t of State, No. 1512 CD 2023 (Pa. Commw. Ct.).


                                          11
      2.     Traceability To Defendants’ Conduct. Plaintiffs’ alleged injuries are

not “fairly traceable to the challenged conduct of the defendant,” Spokeo, 578 U.S.

at 338. Plaintiffs allege they will be harmed by supposedly “inaccurate vote

tall[ies].” Am. Compl. ¶184. But votes are tallied by Pennsylvania’s 67 county

boards of elections. See 25 P.S. §§3146.8, 3154. The Secretary’s role is “to receive”

such tallies “from county boards of elections.” Id. §2621(f). Seemingly recognizing

this, plaintiffs style their claim as challenging the Secretary’s guidance for the

boards’ respective implementation of UOCAVA and UMOVA. Am. Compl. ¶9.

But, at least as relevant here, “under Pennsylvania law, the Secretary’s pre-election

guidance is just that—guidance. County boards of elections ultimately determine

what ballots to count” under the state Election Code, subject to judicial review.

Ziccarelli v. Allegheny Cnty. Bd. of Elections, 2021 WL 101683, at *5 n.6 (W.D. Pa.

Jan. 12, 2021). Indeed, the Pennsylvania Supreme Court recently dismissed a case

against the Secretary because his role in issuing guidance was insufficient to

establish jurisdiction under state law.       See Order, Black Pol. Empowerment

Project v. Schmidt, No. 68 MAP 2024 (Sept. 13, 2024).            Whether plaintiffs’

supposed injury flows from the way the boards have processed UOCAVA

registrations in the past or how they expect boards to do so in the future, plaintiffs

“rely on a speculative chain of possibilities to establish a likelihood of future harm

traceable to” a defendant, Murthy v. Missouri, 144 S.Ct. 1972, 1993 (2024)



                                         12
(quotation marks omitted).      Plaintiffs simply assert that “[t]here is a causal

connection between the challenged conduct of [defendants’] … policy and guidance

and the asserted injury.” Am. Compl. ¶188; accord Mot.19 (same). Speculation

about a party’s indirect influence on an independent actor does not establish

traceability. Murthy, 144 S.Ct. at 1993.

      3.     Redressability. Finally, plaintiffs’ alleged injury is not “redressable by

a favorable ruling” entered against either defendant, Murthy, 144 S.Ct. at 1986. To

determine redressability, “[courts] consider the relationship between the judicial

relief requested and the injury suffered.” Id. at 1995 (quotation marks omitted).

      As noted, plaintiffs allege they are harmed by “inaccurate vote tall[ies]” (Am.

Compl. ¶184), and they seek an “injunction requiring county election officials to

segregate UOCAVA ballots,” id. at 42 (emphasis added). But the county boards

“are not parties to the suit, and there is no reason they should be obliged to honor”

an order granting plaintiffs’ requested relief, Murthy, 144 S.Ct. at 1995 (quotation

marks omitted). Indeed, an injunction “binds only … the parties[,] the[ir] …

agents[,] and other persons who are in active concert or participation with” the

parties. Fed. R. Civ. P. 65(d)(2). The boards do not qualify.

      Plaintiffs never even allege that (or explain how) any relief sought against

either defendant would redress their supposed injuries. County boards carry out the

counting process, not the Secretary. 25 P.S. §3154(a). Moreover, in this context,



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“the Secretary does not have the authority to direct the [b]oards to comply with” a

court order. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998, at *10

(Pa. Commw. Ct. Aug. 19, 2022). This state-law allocation of authority is decisive:

“[I]t is a bedrock principle that a federal court cannot redress injury that results from

the independent action of some third party not before the court,” particularly where

“independent decisionmakers will exercise their judgment” in response to an order

entered against a party. Murthy, 144 S.Ct. at 1986 (quotations omitted).

      Plaintiffs’ failure to plausibly allege all (or indeed any) of the elements of

Article III standing requires dismissal.

      B.     Plaintiffs Lack A Cause Of Action

      Even if any plaintiff had standing, the complaint would have to be dismissed

because plaintiffs lack a cause of action. Indeed, plaintiffs’ single claim (Am.

Compl. ¶¶173-201) does not specify a cause of action. They certainly cannot bring

a claim under HAVA, because for these provisions, “HAVA does not include a

private right of enforcement,” Am. Civil Rights Union v. Phila. City Comm’rs., 872

F.3d 175, 184 (3d Cir. 2017).3



3
  Where courts have held provisions of HAVA privately enforceable, they have done
so not by an implied right of action but under 42 U.S.C. §1983, in a much different
context. Those actions have been brought by or on behalf of voters whom the state
threatens to deprive of individual rights protected by HAVA, such as the entitlement




                                           14
      C.     Plaintiffs’ Claim Is Barred By Laches And Purcell

      The equitable defense of laches requires dismissal of an action if (1) a plaintiff

has inexcusably delayed in bringing a suit, and (2) the delay prejudices the

defendant. Santana Products Inc. v. Bobrick Washroom Equip., Inc., 401 F.3d 123,

138 (3d Cir. 2005). Both elements are met here.

      First, this case challenges (1) UMOVA, which took effect in 2012 (see 25 Pa.

C.S. §3501, Credits), and (2) DOS guidance originally issued that same year, see

Pennsylvania Department of State, Military And Overseas Voters Protocol (Aug.

2012), https://tinyurl.com/2vyv85jx. Plaintiffs admit these are their targets, stating

(Am. Compl. ¶196) that “[i]f the … directives and guidance are based on the

Defendants’ position on or interpretation of state statutes, such as [UMOVA], then

those state statutes, to the extent they conflict with … federal requirements …[,] are

preempted.” There is no justification for plaintiffs having waited about twelve years

before suing—then filing this action weeks before the election and after ballots have

been sent to UOCAVA voters.

      Second, plaintiffs’ delay severely prejudices the DNC and PDP, by

threatening the exclusion of ballots cast by military or overseas voters who support



not to be arbitrarily removed from voter rolls, see Colón-Marrero v. Vélez, 813 F.3d
1, 22 (1st Cir. 2016), or “the right to cast a provisional ballot,” Sandusky Cnty.
Democratic Party v. Blackwell, 387 F.3d 565, 572 (6th Cir. 2004) (per curiam); see
also Voto Latino v. Hirsch, 712 F.Supp.3d 637, 663 (M.D.N.C. 2024) (listing cases).
Section 1983 is inapplicable here, as plaintiffs seek to deny voting rights.


                                          15
Democratic candidates. In casting their ballots, those eligible Pennsylvania voters

have reasonably relied or will reasonably rely on UMOVA’s protections—again,

because those protections have been in place for well over a decade now,

unchallenged by plaintiffs. If these voters’ ballots are discarded, the DNC and PDP

will be prejudiced in their ability to succeed in their mission of having Democratic

candidates elected. For the same reason, plaintiffs’ requested relief would prejudice

candidates who are members of or supported by the DNC and PDP. Setting aside

UOCAVA ballots could also delay post-election counting processes, possibly

imperiling timely completion of those processes, including certification of the

results, see 25 P.S. §2642(k). This too would prejudice the DNC and PDP.

      Finally, this Court must weigh “considerations specific to election cases”

when evaluating plaintiffs’ delay. Purcell, 549 U.S. at 4. The relief plaintiffs request

would “lead to voter confusion,” Kim v. Hanlon, 99 F.4th 140, 160 (3d Cir. 2024).

Military and overseas voters who have come to rely on UMOVA’s processes and

who may have already returned their completed ballots for the upcoming election

(ballots, as noted, had to be sent out weeks ago) would be left questioning what they

need to do to ensure their votes are counted. And election officials would be forced

to depart from a decade-old practice—one that has long kept Pennsylvania’s

elections safe and secure—and try to solicit information from voters who by

definition cannot come to their county board to resolve issues. In short, Purcell



                                          16
confirms that this Court should deny plaintiffs’ belated attempt to cast doubt on the

integrity of the upcoming election.

      D.     The DOS Guidance Does Not Conflict With HAVA

      If the Court could reach the merits, plaintiffs’ claims would fail. Plaintiffs

contend that DOS directives, guidance, and statements concerning UOCAVA voters

conflict with HAVA, specifically 52 U.S.C. §21083(a)(5)(A), which requires voter-

registration applicants to provide driver’s-license or social-security numbers on their

applications if they have such numbers. There is no conflict.

      1.     Plaintiffs argue that HAVA requires a state to verify a “match” between

an identification number given by a voter-registration applicant and data in the state

motor-vehicle database or a profile from the Commissioner of Social Security before

registering the applicant. Am. Compl. ¶124; Mot.11. That is wrong. HAVA

requires an applicant to provide an identification number—if she has it—on her

application. 52 U.S.C. §21083(a)(5)(A). But it does not require a state to verify that

a person’s number matches data in other databases before registering the person.

      HAVA directs each state to maintain a single “computerized statewide voter

registration list,” with a “unique identifier” assigned to each registered voter in the

state. 52 U.S.C. §21083(a)(1)(A). It also requires an applicant to provide a driver’s-

license or social-security number on her application, if she has one.               Id.

§21083(a)(5)(A)(i). For applicants who have neither, the state must assign a unique



                                          17
identifier for the statewide computerized list. Id. §21083(a)(5)(A)(ii). And HAVA

requires each state’s chief election official to “enter into an agreement” with the

state’s top motor-vehicle official “to match information in the database of the

statewide voter registration system with information in the database of the motor

vehicle authority,” “to the extent required to enable each such official to verify the

accuracy of the information provided on applications for voter registration.” Id.

§21083(a)(5)(B). In turn, the motor-vehicle official must enter an agreement with

the Commissioner of Social Security. Id.

      Nothing in HAVA, however, requires states to confirm a match before

processing a voter’s application. The law simply requires that—as an administrative

matter—state officials enter into agreements that would “enable” them to check the

accuracy of information provided on applications for voter registration, without

conditioning registration on verification. Nor would such a condition make sense,

given that HAVA contemplates some applicants will have neither a driver’s-license

nor a social-security number. Such applicants have no number that could be

“matched” before registering them. Congress could not have intended to require

matching before registration knowing that certain applicants would have no

identifying number to match against.

      Moreover, HAVA contemplates instances in which a person will be registered

to vote even though the driver’s-license or social-security number provided on her



                                         18
registration application is not matched against information in the state motor-vehicle

database or from the Commissioner of Social Security. Section 21083(b) provides

that voters who register to vote by mail must provide proof of identity—like photo

identification or a copy of a current utility bill—when they vote for the first time.

52 U.S.C. §21083(b)(2)(A). But these requirements do not apply if the voter (1)

provided a driver’s-license or social-security number when they registered to vote

and (2) a state or local official matched the information with information in one of

the comparison databases. Id. §21083(b)(3)(B). In other words, if a state or local

official has already matched a voter’s identification information, then the voter need

not present proof of identity when voting for the first time. This means HAVA

necessarily contemplates instances in which a state registers a voter but does not

verify a match before the voter submits a ballot, because HAVA directs these voters

to present proof of identity the first time they vote. (As discussed below, see pp.23-

26, HAVA exempts UOCAVA voters from having to provide proof of identity the

first time they vote, regardless of whether their driver’s license or Social Security

number has been matched. Id. §21083(b)(3)(C)(i).)

      The two most on-point cases recognize this, each holding that HAVA does

not require matching as a prerequisite to registration. In Washington Association of

Churches v. Reed, 492 F.Supp.2d 1264 (W.D. Wash. 2006), the plaintiffs challenged

a state’s matching statute, one that (unlike Pennsylvania’s Election Code),



                                         19
“essentially require[d] the state to match a potential voter’s name to either the Social

Security Administration … database or to the Department of Licensing … database

before allowing that person to register to vote,” id. at 1266. The court deemed it

“clear … that HAVA’s matching requirement was intended as an administrative

safeguard for storing and managing the official list of registered voters, and not as a

restriction on voter eligibility.” Id. at 1268-1269 (quotation marks omitted).

      The court in Florida State Conference of the NAACP v. Browning, 522 F.3d

1153 (11th Cir. 2008), likewise considered a state statute requiring a verified match

as a precondition of registering to vote, id. at 1155. The court acknowledged that

HAVA does not require matching as a precondition, see id. at 1172, but reasoned

that the statute “also does not seem to prohibit states from implementing it,” id. at

1168. In other words, the court (like Reed) agreed that HAVA does not require

matching as a prerequisite to voter registration.

      Plaintiffs suggest (Mot.15) that their contrary interpretation of HAVA follows

from the “plain … reading of § 21083(a)(5)(A).” That plain reading, they say, is

that “a voter registration application may not be accepted or processed by a state

unless the application includes a driver’s license number per (a)(5)(A)(i)(I), a social

security number per (a)(5)(A)(i)(II), or …, per (a)(5)(A)(ii),” the unique identifier

that states must assign to applicants without a driver’s license or Social Security

number. Mot.15. But this “plain … reading,” id., confirms that HAVA only requires



                                          20
(a) an applicant to provide a driver’s-license or social-security number (if she has

it), and (b) a state to provide a unique identifier to an applicant who has neither

number. Nothing in that language requires a state to confirm a match with any

database before processing a registration application.

      Nor is plaintiffs’ claim salvaged by their statement that “[t]hose qualified to

vote who do not have either a driver’s license or social security card can still register

to vote and be assigned a unique voter identification number by the state, when they

prove their identity and eligibility by alternate means” like “a current utility bill,

bank statement, government check, paycheck, or other government document that

shows the name and address of the voter.” Mot.4 & n.4. This conflates HAVA’s

requirements in §21083(a)(5) for voter registration with the law’s requirements in

§21083(b) for those who registered by mail to vote for the first time. HAVA’s

general requirement that voters who registered by mail present proof of identity the

first time they vote has no bearing on whether HAVA requires applicants to present

proof of identity when registering. Moreover, nothing in HAVA requires applicants

in general to present such documents with a registration application, and HAVA

exempts UOCAVA voters from presenting such documents with their first ballots.

      Plaintiffs cite two other sources that they say support their interpretation of

HAVA, but neither does. First, plaintiffs rely (Am. Compl. ¶124; Mot.7) on Reed.

But as discussed, that case rejects their argument that HAVA requires a verified



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match before registration. Seemingly recognizing this, plaintiffs attach, as Exhibit

K to the amended complaint, a later order in Reed issuing a stipulated injunction

(Mot.7). Consistent with the court’s earlier ruling, that order permanently enjoined

the state from rejecting voter registration applications based solely on a non-match.

Am. Compl., Ex. K at 2. Again conflating HAVA’s separate registration and voting

requirements, plaintiffs quote part of the stipulated order that concerns the parties’

agreement about requirements to vote, not register. See id. at 3-4; Mot.7-8 (quoting

the order’s discussion of requirements for counting provisional “ballot[s]”).

      Second, plaintiffs cite guidance from the U.S. Election Assistance

Commission (Am. Compl. ¶163; Mot.7). That guidance “is voluntary. This means

that States can choose to adopt this guidance to assist in the implementation of

HAVA’s requirements for a statewide voter registration list or create their own

policies.” U.S. EAC, Voluntary Guidance on Implementation of Statewide Voter

Registration Lists at 2 (July 2005), https://tinyurl.com/6frzjdcf. In any event, the

guidance does not say that states must verify a match before registering a voter. Id.

      Put simply, HAVA does not require a verified match between the information

provided on a voter-registration application and data in any comparison database

before a state may process the application and register the applicant.

      2.     None of the guidance or statements by state officials about UOCAVA

voters that plaintiffs point to conflicts with the proper construction of HAVA.



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      First, plaintiffs challenge DOS’s Directive Concerning HAVA-Matching

Drivers’ Licenses or Social Security Numbers for Voter Registration Applications

(Am. Compl. Ex. A (“Directive”)), which informs county boards that under state and

federal law, voter-registration applications “may not be rejected based solely on a

non-match between the applicant’s identifying numbers on their application and the

comparison database numbers.” The Directive (which does not distinguish between

UOCAVA and non-UOCAVA voters) thus correctly reflects that HAVA does not

require a match as a prerequisite to voter registration. See id. at 1. It also correctly

explains that—under state law—a county board may not reject a voter-registration

application based solely on a non-match. Id.; see 25 Pa. C.S. §§1328(b)(2)(i)-(iv)

(grounds to reject application), 1301(a) (voting qualifications).

      Second, plaintiffs point (Am. Compl. ¶¶13, 131, 171) to a Q&A in DOS’s

Pennsylvania Military and Overseas Voters Guidance (Am. Compl. Ex. E

(“Guidance”)). The relevant part of that Q&A (which plaintiffs’ motion misquotes

(p.12)) states: “What are the voter ID requirements for covered voters? The

Department’s position is that covered voters are exempt from the Election Code’s

ID requirements for absentee voters.” Id. at 8. As an initial matter, it is unclear how

this statement about what state law requires bears on whether the statement indicates

a conflict with federal law. Federal courts cannot compel compliance by state

officials with state law. See Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.



                                          23
89, 124-125 (1984). The same is true of plaintiffs’ mentions of Pennsylvania’s

residency requirement. E.g., Am. Compl. ¶¶6, 119, 168. Indeed, plaintiffs’ request

for an injunction ordering defendants to “comply with … state law … including state

residency requirements,” id. at 42, is plainly barred by Pennhurst.

      Third, plaintiffs cite (Am. Compl. ¶109; Mot.22) a statement by one defendant

during a General Assembly hearing, Am. Compl. Ex. B at 59:10:00-1:00:14:

      Rep. Francis X. Ryan: But one final question. The UOCAVA system.
      There’s been a significant increase in the number of non-military
      ballots that came out through the system. What steps are taken to
      verify, by county election offices, to verify the information on the
      Federal Post Card Applications received from overseas non-military
      voters or is there any requirement to have verification done?

      Deputy Secretary Marks: Those voters … are specifically exempted
      from the HAVA verification requirements. So they do not have to
      provide the PennDOT ID or last four of SSN. That’s an exemption both
      in federal law and I believe state law as well. So there is no systematic
      verification if that’s what you’re asking.

The question initially addressed UOCAVA ballots, but then shifted confusingly to

UOCAVA registration applications. The best interpretation of the answer is that it

sought to convey that both HAVA and state law exempt UOCAVA voters from

having to present proof of identity when returning an absentee ballot for the first

time. And with respect to the part of the question about the FPCA, the Pennsylvania-

specific instructions for the FPCA mirror the requirement in HAVA §21083(a)(5):

“You must provide your Pennsylvania-issued ID number or the last four digits of

your Social Security Number. If you do not have [either,] you must enter in Section


                                         24
6: ‘I do not have a Social Security Number or Pennsylvania-issued ID number.’”

2024-2025      Pennsylvania      Voting     Assistance     Guide      (Aug.     2023),

https://tinyurl.com/5n9yhune. Even assuming an oral statement (in response to a

truly muddled question) could form the basis for a preemption claim, nothing about

this testimony provides such a basis.4

      Identifying no conflict between HAVA and any guidance or statement by any

Pennsylvania agency or official, plaintiffs are left to assert repeatedly that

Pennsylvania has issued “directives to county election officials to not attempt to

verify the identity or eligibility of UOCAVA applicants.” Am. Compl. ¶43; see also,

e.g., id. ¶¶21, 122, 132, 139, 185, 187, 192. That assertion is baseless. If plaintiffs

mean to refer to the Directive, it does not prohibit counties from attempting to verify

the identity of any applicant. It explains—consistent with federal and state law—

that a county cannot refuse to process a voter-registration application based solely

on a non-match. Plaintiffs’ bare allegation that the state is directing counties not to

verify UOCAVA applicants’ identities does not plausibly state a preemption claim.

      Because plaintiffs’ claim fails on the merits, dismissal would be warranted

even if none of the myriad threshold shortcomings discussed earlier existed.


4
 Plaintiffs also attach to the complaint (Exs. C, D) reports and decisions in
Pennsylvania administrative proceedings rejecting arguments similar to plaintiffs’
here, and the DOS brief (Ex. F) in an appeal to the Commonwealth Court from one
such proceeding. Those documents each reflect the correct interpretation of HAVA
and its application to UOCAVA voters discussed in the text.


                                          25
II.   A PRELIMINARY INJUNCTION SHOULD BE DENIED

      “Preliminary injunctive relief is an extraordinary remedy, which should be

granted only in limited circumstances.” SEC v. Chappell, 107 F.4th 114, 126 (3d

Cir. 2024). A party “seeking a preliminary injunction must establish that [it] is likely

to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in [its] favor, and that an

injunction is in the public interest.” Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008).

Plaintiffs do not make a sufficient showing on any factor.5

      A.     Plaintiffs Establish No Likelihood Of Success On The Merits

      For the reasons given above, plaintiffs have no likelihood of success on the

merits of their preemption claim. It is worth reiterating that Federal Rule of Civil

Procedure 65 precludes the injunctive relief plaintiffs seek. Plaintiffs ask this Court

to order “county election officials to segregate UOCAVA ballots.” Am. Compl. at

42; see also Mot.19 (asserting irreparable harm because, absent a “pre-election

injunction,” “non-verified UOCAVA voters’ absentee ballots [will be] accepted, co-

mingled with other ballots, and counted”). But plaintiffs sued no county or county

official. Having sued the wrong parties, plaintiffs cannot obtain their desired relief.




5
 Plaintiffs cite a pre-Winter case in asserting (Mot.13) that for the first factor, they
“need only prove a ‘prima facie case.’” Again, under Winter, they must show they
are “likely to succeed,” 555 U.S. at 20. Any contrary pre-Winter case is abrogated.


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      B.     Plaintiffs Demonstrate No Likely Irreparable Harm Absent An
             Injunction

      Plaintiffs assert they will be irreparably harmed because, absent an injunction,

they will be forced to “participat[e] in Congressional elections with an illegal

election structure” and because “a close election outcome could be changed by these

non-verified UOCAVA voters.” Mot.20. These allegations are not even sufficient

to establish injury for purposes of Article III standing. See supra §I.A. They

certainly do not justify the extraordinary remedy of a preliminary injunction. That

is because a risk of harm is not enough; a plaintiff “must prove irreparable harm is

‘likely’ in the absence of relief. Issa v. Sch. Dist. of Lancaster, 847 F.3d 121, 142

(3d Cir. 2017) (quoting Winter, 555 U.S. at 22). A “highly speculative concern” that

“denying an injunction ‘could have a determinative effect on the election’”—like

plaintiffs’ purported concern here—is “insufficient” to satisfy this requirement.

Republican Party of Pa. v. Cortés, 218 F.Supp.3d 396, 410 (E.D. Pa. 2016).

Plaintiffs also fail to present a shred of evidence that even one fraudulent UOCAVA

ballot has been or will be submitted.

      C.     The Balance Of The Equities Does Not Favor Plaintiffs

      Because plaintiffs fail to show a likelihood of success on the merits or

irreparable injury, the Court need go no further. See SEC, 107 F.4th 114, 126. But

plaintiffs also cannot show that the balance of the equities favors granting relief.




                                          27
      As discussed, see supra §I.C, plaintiffs have no excuse for filing this suit just

five weeks before election day—after UOCAVA ballots already have been sent out

and an untold number have been returned—when the practices they challenge are

over a decade old. “A party requesting a preliminary injunction must generally show

reasonable diligence … in election law cases as elsewhere.” Benisek v. Lamone, 585

U.S. 155, 159 (2018). Hence, “plaintiffs’ unnecessary, years-long delay in asking

for preliminary injunctive relief weigh[s] against their request.” Id. at 160.

      The equitable scales also tip against granting relief because the requested

injunction would harm the DNC and PDP. Each devotes substantial time and

resources to supporting their candidate-members’ elections, running get-out-the-

vote efforts, and engaging in voter education and protection. For over a decade these

efforts have relied upon the Commonwealth’s consistent implementation of HAVA,

UOCAVA, and UMOVA. Plaintiffs’ requested injunction would force both the

DNC and PDP to divert scarce resources, immediately before and after the election,

toward ensuring that their overseas voter-members’ ballots are counted.

      D.     A Preliminary Injunction Would Harm The Public Interest

      Plaintiffs’ public-interest discussion (Mot.21-22) is devoid of any true public-

interest considerations; it just rehashes incorrect assertions that the individual

plaintiffs’ federal rights will be violated absent an injunction and that after the

election, they would have no remedy. Plaintiffs likely have little to say about the



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public interest because that interest would be severely harmed by the requested

injunction. The public has a “strong interest in exercising the fundamental political

right to vote.” Purcell, 549 U.S. at 4 (quotation marks omitted). “[T]he public

interest therefore favors permitting as many qualified voters to vote as possible.”

League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

(collecting cases). Plaintiffs’ vague requested relief—which glosses over the major

question of how tens of thousands of voters abroad would “verif[y]” their “identity

and eligibility” to plaintiffs’ satisfaction in time to have their votes counted and to

ensure prompt certification of election results—threatens to disenfranchise

thousands of military and overseas voters, contrary to the public interest.

      Plaintiffs’ suggestions that their requested relief would advance the public

interest by reducing the risk of foreign influence in the upcoming elections are

meritless. Plaintiffs cite an indictment against Iranian nationals as evidence that

“[f]oreign nations … could easily submit falsified FPCAs for ballots to unduly

influence U.S. elections.” Am. Compl. ¶19. The indictment itself refutes that claim.

It explains that members of the conspiracy disseminated a “simulated” video that

“purported to depict” a hacker “creat[ing] fraudulent absentee ballots through the

Federal Voting Assistance Program (“FVAP”).” Indictment 3-4, United States v.

Kazemi, 21 Cr. 644 (S.D.N.Y.) (unsealed Nov. 18, 2021). But it underscores that

“the FVAP could not be leveraged in the manner implied by the … [v]ideo.” Id. at



                                          29
4 (emphasis added). Plaintiffs thus cite disinformation as the basis for their assertion

(Am. Compl. ¶19) that foreign nationals “could easily submit falsified FPCAs.” The

Justice Department makes crystal clear that the FVAP cannot be so leveraged. This

Court should not credit such fearmongering and casual disregard of facts, and it

certainly should not credit debunked propaganda as actual public-interest evidence.

      Finally, under the Purcell doctrine, federal courts “should ordinarily not alter

the election rules on the eve of an election.” Republican National Committee v.

Democratic National Committee, 589 U.S. 423, 424 (2020) (per curiam). This case

is exactly what Purcell should prevent, supra §I.C, as the requested relief would

confuse UOCAVA voters and leave election officials scrambling to implement a

regime different than the one in place for over a decade.

                                   CONCLUSION

      Plaintiffs’ complaint should be dismissed with prejudice. Whether or not the

complaint is dismissed, plaintiffs’ preliminary-injunction motion should be denied.




                                          30
October 11, 2024                          Respectfully submitted,

                                          /s/ Clifford B. Levine
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                       CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing was served on all counsel of

record on October 11, 2024 by this Court’s CM/ECF system.


                                          /s/ Clifford B. Levine
                                          CLIFFORD B. LEVINE
                         ADDENDUM: UNPUBLISHED OPINIONS

                                                                                                              TAB
Black Political Empowerment Project v. Schmidt, No. 68 MAP 2024
      (Pa. Sept. 13, 2024).......................................................................................... 1

Bolus v. Boockvar, 2020 WL 6880960 (M.D. Pa. Oct. 27, 2020) ............................. 2

Chapman v. Berks County Board of Elections, 2022 WL 4100998
     (Pa. Commw. Ct. Aug. 19, 2022) .................................................................... 3

Ziccarelli v. Allegheny County Board of Elections, 2021 WL 101683
      (W.D. Pa. Jan. 12, 2021).................................................................................. 4
